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      EXHIBIT 6
                     Case 4:19-cv-07123-PJH Document 18-7 Filed 02/06/20 Page 2 of 3


Mornin, Joe

From:                               Mornin, Joe
Sent:                               Friday, November 8, 2019 12:57 PM
To:                                 omrilavie@hotmail.com; omri@foundersgroup.com; clockwize2003@gmail.com;
                                    omri@nsogroup.com
Cc:                                 LeBlanc, Travis; Grooms, Daniel
Subject:                            WhatsApp, et al. v. NSO Group, et al.
Attachments:                        WhatsApp, et al. v. NSO Group, et al.


Dear Mr. Lavie:

We represent WhatsApp Inc. and Facebook, Inc. in a federal lawsuit that has been filed against NSO Group Technologies
Ltd. in the United States District Court for the Northern District of California, No. 3:19‐cv‐07123.

Attached to this email are electronic copies of materials we sent earlier this week to the CEO of NSO Group, Shalev
Hulio. These materials include the complaint, a summons from the court, an acknowledgment of service, and related
litigation documents. We will also provide hard copies of these materials to you by mail.

Due to the size of the file, we will send a separate email attaching the exhibits to the complaint in this case.

Very truly yours,
Joseph D. Mornin

Joseph D. Mornin
Cooley LLP
101 California Street, 5th Floor
San Francisco, CA 94111-5800
+1 415 693 2176 office
jmornin@cooley.com
Bio: cooley.com/jmornin




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Mornin, Joe

From:                              Mornin, Joe
Sent:                              Friday, November 8, 2019 12:58 PM
To:                                omrilavie@hotmail.com; omri@foundersgroup.com; clockwize2003@gmail.com;
                                   omri@nsogroup.com
Cc:                                LeBlanc, Travis; Grooms, Daniel
Subject:                           WhatsApp, et al. v. NSO Group, et al. - exhibits
Attachments:                       WhatsApp, et al. v. NSO Group, et al. - exhibits


Dear Mr. Lavie:

As indicated in my previous email, the exhibits to the complaint in this case are attached.

Very truly yours,
Joseph D. Mornin

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